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GOVERNMENT'S
EXHIBIT NO.

 

CASENO. 9.91-CR-34

United States of. America

 

vs.
Javier Sanchez Mendoza, Jr.

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JOHN E. TRIPLET, CLERK OF COURT *

 

 

 
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